                                Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 1 of 19
~'JS-40. (Rev 11/04)                                                        CIVIL CpVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)    PLAINTIFFS                                                                                DEFENDANTS

          Hristo Dimitrov                                                                           Midland Funding, LLC

  (b~     County of Residence of First Listed                   Philadelphia, PA                                                                           San Diego, CA
                                                                                                    County of Residence of First Listed Defendant
          Plaintiff
                                   (EXCEPT [N U.S. PLAIN'T'IFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                    LAND INVOLVED.


~C)       Attorneys (Firm Name, Address, and Telephone Number)                                      Attorneys (If Known)

          Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr                                 Lawrence J. Bartel, Esquire, 2000 Market Street, Suite 2300, Philadelphia, PA
          Drive, Suite 400, Ft. Washington PA 19034 1-855-432-8475                                  19103
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place An "X" in One Box for Plaintiff and
                                                                                                  (For Diversity Cases Only)                              One Box for Defendant)
❑ 1. U.S. Government                  ~ 3. Federal Question                                                                 PTF     DEF                                      PTF         DEF
        Plaintiff                           (U.S. Govermnent Not a Party)                      Citizen of This State         ❑1     ❑1    Incorporated or Principal Place    ❑4          ❑4
                                                                                                                                          of Business in This State

❑ 2. U.S. Government                 ❑ 4. Diversity                                            Citizen of Another           ❑2      ❑2    Incorporated and Principal Place    ❑5         ❑5
        Defendant                                                                              State                                      of Business in Another State
                                         (Indicates Citizenship of Parties in Item III)
                                                                                                                            ❑3      ❑3    Foreign Nation                      ❑6         ❑6
                                                                                               Citizen of Subject of a
                                                                                               Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Onlvl
         CQn'TRACT                                             TOKTS                                 FORFEITURE/PENAL"1'V'                I3AI~1{RUP~I'C]'            O"1'I(EY2S"I'<1'[~U'T'ES

❑ 110 Insurance                        PERSONAL INJURY                PERSONAL INJURY               O 610 Agriculture                ❑ 422 Appeal 28 USC 158❑ 400 State Reapportionment
❑ 120 Marine                          ❑ 310 Airplane                 ❑ 362 Personal Injury —        ❑ 620 Other Food &Drub           ❑ 423 Withdrawal       ❑ 410 Antitrust
❑ 130 Miller Act                      ❑ 315 Airplane Product                Med Malpractice         ❑ 625 Dnig Related Seizure              28 USC 157      ❑ 430 Banks and Banking
❑ 140 Negotiable Instrument                  Liability               ❑ 365 Personal Injury —               of Property 21 USC 881                           ❑ 450 Coimnerce
❑ 150 Recovery of Overpayment         O 320 Assault, Libel &                 Product Liability      ❑ 630 Liquor Laws                  PROPERTI'I21GHT5 `- ❑ 460 Deportation
    & Enforcement of Judgment                Slander                 ❑ 368 Asbestos Personal        ❑ 640 R.R & Tn~ck                ❑ 820 Copyrights       ❑ 470 Racketeer Influenced ani
❑ I51 Medicare Act                    ❑ 330 Federal                          Injury Product         ❑ 650 Airline Regs               ❑ 830 Patent                  Coinipt Organizations
❑ 152 Recovery of Defaulted           Employers'                             Liability              ❑ 660 Occupational               ❑ 840 Trademark        ~ 480 Conswner Credit
        Student Loans                        Liability               PF,RSONAL PROPERT'1                   Safety/Health                                    ❑ 490 Cable/Sat TV
        (Excl. Veterans)              ❑ 340 Marine                   ❑ 370 Other Fraud              ❑ 690 Other                                             ❑ 810 Selective Service
❑ 153 Recovery of Overpayment         O 345 Marine Product           ❑ 371 'Truth in Lending                   LAI30R                   SOCIAL SECURITY '   ❑ 850 Secivities/Commodities/
       of Veteran's Benefits.                LiaUility               ❑ 380 Other Personal           ❑ 7~ 0 Fair Labor Standards      ❑ 86l HIA (1395ffl            Exchange
❑ 160 Stockholder's Suits             ❑ 350 Motor Vehicle                   Property Damage                  Act                     ❑ 862 Black Lung (923) ❑ 8~ 5 Customer Challenge
❑ 190 Otlter Contract                 p 355 Motor Vehicle            ❑ 385 Property Damage          ❑ 7z0 Labor/Mgmt. Relations      ❑ 863 DIWC/DIWVJ               12 USC 3410
❑ 195 Contract Product Liability             Product Liability               Product Liability      p '730 Labor/M~nt. Reportuig     (405(8))               ❑ 890 Other Statutory Actions
❑ 195 Franchise                       ❑ 360 Otlier Personal                                                 &Disclosure Act          p 864 SSID Title XVI   ❑ g~~ Agicultural Acts
                                             ~nl°~7'                                                ❑ 740 Railway Labor Act          ❑ 865 RSI (405         ❑ 892 Economic Stabilization Ac
                                                                                                    O 790 Other Labor Litigation      FEDEIZAJ, TAX 5UTTS ' ~ 8~3 Environmental Matters
     REAL PROP>ERT]'                      C[VtL R[CHTS               PRISOiV1.R Ply"ffPln'\5        ❑X91 Empl. Ret. Inc.             ❑ g~0 Taxes (U.S.      ❑ 894 Energy Allocation Act
                                                                                                            Security Act             p~a~nt~g               ❑ 895 Freedom of Information
❑ 21U Land Condemnation               ❑ 441 Voting                   ❑ 510 Motions to Vacate
                                                                                                                                                                    Act
❑ 220 Foreclosure                     ❑ 442 Employment                      Sentence                                                          or Defendant)
                                                                                                                                                            O 900 Appeal of Fee Detemiinatio~
❑ 230 Rent, Lease &Ejectment          ❑ 443 Housing /                  Habeas Corpus:                                                ❑ g71 IRS —Third Party
                                                                                                                                                                    Under Equal Access
❑ 240 Torts to Land                          Accommodations          ❑ 530 General                                                            26 USC 7609
                                                                                                                                                                    to Jus[ice
❑ 245 Tort Product Liability          ❑ 444 Welfare                  ❑ 535 Deatli Penalty
                                                                                                                                                            ❑ 950 Constitutionality of
❑ 290 All Other Real Property         ❑ 445 Amer.                    ❑ 540 Mandamus &Other
                                                                                                                                                                    State Statutes
                                      w/Disabilities—                ❑ 550 Civil Rights
                                                 Employment          ❑ 555 Prison Condition
                                      p 446 Amer.
                                      w/Disabilities—
                                                Other
                                      ❑ 440 Otlier Civil Ri hts
V. ORIGIN       (Place an "X" in One Box Only)                                                                                                 Appeal ro District                                I
~ 1 Original      ~2       Removed from        ❑3                 Remanded from           ❑4     Reinstated or      ❑5
                                                                                                 Transferred from [] 6       Multidistrict ❑ 7   Judge from
     Proceeding            State Court                            Appellate Court                Reopened
                                                                                                 another district            Litigation
                                                                                                 (specify)
                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                     47 U.S.C. § 227, et seq. and 15 U.S.C. § 1692, et seq.
VI. CAUSE OF ACTION
                     Brief description of cause:
                     Fair Debt Collection Practices Act
VII. REQUESTED IN   U CHECK IF THIS 1S A CLASS ACTION                DEMAND $         1,800                 CHECK YES only if demanded in complaint:
     COMPLAINT:        UNDER F.R.C.P. 23                                                                    JURY DEMAND: ❑Yes               ~ No
VIII. RELATED CASES)
                       ISee instructions)   JUDGE                                                         DOCKET NUMBER
     IF ANY
UA7'E                                                                        SIGNA7'      E OF A7`I'ORNEY OF RECORD
            May 7, 2015                                                                        ~         ~'I      /1~~
                                                                                                       ,..7,     IIJ
FOR OFFICE USE ONLY

RECEIPT #                            AMOUNT                                APPLYING IFP                             JUDGE                              MAC. JUDGE
                          Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 2 of 19
                                                                    UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA —DESIGNATION FORM to be used by counsel to indicate the category of the case Tor the purpose of
assignment to appropriate calendar.

AddYess Of Plaintiff: Hristo Dimitrov c/o Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr Drive, Suite 400, Ft. Washington PA 19034 1-855-432-8475

AC1CIc0sS of D0f0tld2llt: Midland Funding, LLC c/o Lawrence 1. Bartel, Esquire 2000 Market Street, Suite 2300 Philadelphia, PA 19103

Place of Accident, II1C1d011t OT TC1I7SaCh Oil; Philadelphia County, Pennsylvania
                                                                               (Use Reverse Side For Additional Space)                                                    `

Does this civil action involve a nongovernmental corporate party with any parent corporation and any puUlicly held corporation owning 10% or more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))                                                  Yes ~ No


Does this case involve multidistrict litigation possibilities?                                                                                 Yes ~ No ~✓
RELATED CASE, IF ANY:
Case Number:                                             Judge                                                     Date Terminated:


Civil cases are deemed related when yes is answered to any of the following questions:

1. Is [his case related to property included in an earlier nwnUered suit pending or within one year previously tern~inatcd action iu this court?
                                                                                                                                Yes ~ No ❑✓
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               Yes ❑ No
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numUered case pending or within one year previously
    terminated action in this court?                                                                                                           Yes ~ No ~✓

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                               Yes ~ No ❑✓

CIVIL: (Place ✓ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                             B. Dii~ersity Jtn•isdiction Cases:
 1. ❑Indemnity Contract, Marine Contract, and Ail Other Contracts                                                      1. ❑Insurance Conh~act and Other Conh•acts
 2. ❑ FELA                                                                                                             2. ❑Airplane Personal Injury
 3. ❑Jones Act-Personal Injury                                                                                         3. ❑Assault, Defamation
 4. ❑Antitrust                                                                                                         4. ❑Marine Personal Injury
 5. ❑Patent                                                                                                            5. ❑Motor Vehicle Personal Injury
 6. ❑Labor-Management Relations                                                                                        6. ❑Other Personal Injury
                                                                                                                                                      (Please specify)

 7. ❑Civil Rights                                                                                                               Products Liability
 8. ❑Habeas Corpus                                                                                                              Products Liability —Asbestos
 9. ❑Securities Acts) Cases                                                                                                      All other Diversity Cases
10.0 Social Security Review Cases                                                                                                                      (Please specify)

11. ✓❑ All other Federal Question Cases
          (Please specify)
                                                                           ARBITRATION CERTIFICATION
                                                                          (Check Appropriate Category)
I Lawrence 1. Bartel                                          ,counsel of record do hereby certify:
       Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
      Relief oUier than monetary damages is sought.

DATE: May 7, 2015                                     ~~ ~,.~'~'~                                                                             94006
                                                            Attorney-a -Law                                                           Attorney I.D.#
                                            NOTE A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE: May 7, 2oi 5                                   ~°                         /~(~—_                                                        94006
                                                                                                                                                   Attorney I.D.#
                                                                   Attorney t-I,a~G   w
CIV. 609 ((/08)
               Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 3 of 19
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM
HRISTO DIMITROV                                                      CIVIL ACTION


                         ►a

MIDLAND FUNDING, LLC                                                    NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.


SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)      Habeas Corpus-Cases brought under 28 U.S.C. §2241 through §2255.                           ( )

(b)      Social Security-Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                             ( )

(c)       Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.   ( )

(d)       Asbestos-Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                     ( )

(e)       Special Management-Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                        ( )

(~        Standard Management--Cases that do not fall into any one of the other tracks.             (X)


                                                                           Defendant, Midland
 May 7, 2015                           ~                  ~p                 Funding, LLC
 Date                                       Attorney- t-law                   Attorney for
                                           Lawrence J. Bartel,
                                                Esquire.

                                                                          Libartel emdwc .com
 (215) 575-2780                              215)575-0856
 Telephone                                   FAX Number                       E-Mail Address

(Civ.660) 10/02
551629
    Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 4 of 19




           IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
HRISTO DIMITROV,
                              i Civil Action No.
               Plaintiff,
     vs.

MIDLAND FUNDING, LLC,
                  Defendant.

                         NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. ~ 1441(b)

and 28 U.S.C. § 1331, Defendant, Midland Funding, LLC (hereinafter

"MF"), by and through its counsel, Marshall Dennehey Warner Coleman

8v Goggin, P.C., hereby removes the action captioned as Hristo Dimitrov

v. Midland Funding, LLC, docket no. 1504003803, as filed in the Court of

Common Pleas for Philadelphia County, Pennsylvania ("the Action"), to

the United States District Court for the Eastern District of Pennsylvania,

based upon the following:

      1.    On or about April 2, 2015 Plaintiff filed the Action in the

Court of Common Pleas for Philadelphia County, Pennsylvania. A true

and correct copy of Plaintiffs Complaint in the Action is attached hereto

as Exhibit "A."

      2.    MF first received notice of the Action on April 8, 2015, when

it was served with Plaintiffs Complaint.

      3.    Based on the foregoing, MF has timely filed this Notice of

Removal within thirty days of being served with the Complaint and


                                    1
    Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 5 of 19




within thirty days of the date that the Action was first removable. See 28

U.S.C. ~ 1446(b).

      4.    The Action is a civil action of which this Court has original

jurisdiction under 28 U.S.C. ~ 1331, and is one which may be removed to

this Court by MF pursuant to the provisions of 28 U.S.C. ~ 1441(b), in

that Plaintiff has alleged that MF violated the Fair Debt Collections

Practices Act, 15 U.S.C. ~ 1692, et seq., thereby asserting claims that

arise under federal law.

      5.    In that the causes of action alleged by the Plaintiff arise from

the performance of obligations of the parties within Philadelphia County,

Pennsylvania, the United States District Court for the Eastern District of

Pennsylvania should be assigned the Action.

      6.    Pursuant to 28 U.S.C. ~ 1446(d), MF will file a copy of this

Notice of Removal with the Clerk of the United States District Court for

the Eastern District of Pennsylvania, will serve Plaintiff with copies of

this Notice of Removal and will file the Notice of Removal in the

Philadelphia County Court of Common Pleas.



      WHEREFORE, Defendant, Midland Funding, LLC notifies this

Court that this Action is removed from the Court of Common Pleas for

Philadelphia County, Pennsylvania to the United States District Court for

the Eastern District of Pennsylvania pursuant to the provisions of 28

U.S.C. ~~1331, and 1446.
   Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 6 of 19




                             Respectfully submitted,

                            MARSHALL DENNEHEY WARNER
                            COLEMAN & GOGGIN, P.C.

                      By:
                            Lawrence J. artel, ESQUIRE
                            2000 Market Street, Suite 2300
                            Philadelphia, PA 19103
                            (215) 575-2780 / (215) 575-0856 ( fl
                            Ljbartel@mdwcg.com
                            Attorneys for Defendant
                            Midland Funding, LLC


Dated: May 7, 2015




                                  3
   Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 7 of 19




           IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
HRISTO DIMITROV,
                               Civil Action No.
               Plaintiff,
     vs.

MIDLAND FUNDING, LLC,
                    Defendant.

                        CERTIFICATE OF SERVICE

        I, Lawrence J. Bartel, Esquire, do hereby certify that a true and

correct copy of Defendant, Midland Funding, LLC's Notice of Removal was

served upon the below-listed counsel of record by regular mail on March 6,

2015:

        Fred Davis, Esquire
        Davis Consumer Law Firm, LLC
        500 Office Center Drive, Suite 400
        Ft. Washington, PA 19034
        Attorneys for Plaintiff
        Hristo Dimitrov

                                 MARSHALL DENNEHEY WARNER
                                 COLEMAN & GOGGIN, P.C.

                          By:
                                 Lawrence J. artel, ESQUIRE
                                 Attorneys for Defendant
                                 Midland Funding, LLC

Dated: Mav 7, 2015
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 8 of 19




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                        Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 9 of 19


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   hIRSSTQ ~IMI'TROV                                                                                      MIDI,AN[) EUNL)ING I,LC


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   PfIILFf E'75 ].149                                                                                     SAN DI[:GO CA 92123


 PLAINTIFF'S NAME                                                                                       l7fiPEN(~nNT'S NAME                                       ~~~
                                                                                                                                                                   y
                                                                                                  ._    DEFfN~ANT'SADpRESS                                                                       ~
 i'lA1NTIFF'SADORFSS




 PLAINTIFF'S NkME                         ...                   _                                       pEFENpANT'S NAME
                                                                                                                                    __                                       ~~       ^,\-«. /ry,~ p   'f .




-: PLAINTIFF'S ADDRESS                                                                                  DEFENDANTSADDR~SS




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 AMQUNT IN GUNTROVERSY           ~ COURT PROGRAMS                       -

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 SUPREME CC)Uf27 1t7ENTiFICATiON Nq.                                                              ~ EMAIL ADDRESS
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   CI~FD DF~VIS                                                                                          Thursday, t~~ri1 07, 2015,                                     7.2:1Fi ern

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Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 10 of 19




Fred Davis, Esquire                              ATTORNEY FOR PIaAINTIF~'
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Phil, PA
19144

Plai»tiff                                        C~VI~, ACTION

v.

MIULANi) FUNDTNCr, T~r.0                         DUCKLT N4.:
8875 Aero Iar.-Ste 20{}
San Dicgo, CA
92123

Defendant


                                   NO`I'ICE'TO DEI~.~NL)
                                       COVE: I900

   You have been sued in court. Ifyou wish to defend against tha claims set fo~~th in the
  fallowing pages, you must take action within twenty {2(~) days after this complaint and
notice are. served, by entering ~ wriit~ii a~~peAr~r~ce personAlly or by attorney and fiiiF~g i~~
   wcitir~~ witi~ fire court your defenses ar c~bjectians tp the ctaiins seC forth Against yo~~.
      You ara warned tFtat if you fail to cio so tlxe case may proceed without you aid a
 jud~mcnt inay be ent~;rcd a~Ai~~st yUu by ttr~ court without further notice for any money
 clarn~ed in the complaint or for a~iy other clt~im ar relief requested by the ~laintitf: Yau
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                                       HELP.
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 11 of 19




  NHIT~ATJ~;I_,PHIA COUNTY ~iAR ASSUCTATI~N-Lt1WY~,R RF;FER.~AI.,3c INFn
                                . SERVICE

                               T'hilad~lphia Bar Association
                              1.101 Market Street, 1.1 ~h rlac~r
                                      P}~ita, PA 19107
                                  Phone: (215) 23 8-6300
                                    Fax; {21S) 238-1159

                                             AVTSO
   Le han demandado a usted e~~ la Corte. Si usted c{uiere defenderse de estas de estas
 demandas expuestas an las pagrnas signi~ntes, usted time veit~te (20} alas Cie plazo at
 partir d~; ra fecha rye Ea de~tiand~ y is noti~cacion. Hace falta asentar una cotnparencia
escrita o en persona o cats un abc>~ado y entregar a la Corte en forma e:scrita sus defenses
v sus objeciones a las demandas en centre de su persona. Sea avisado que si usted tie se
   defiende, le Corte to~nara medidas y puede continuer la ciemanda en contra suya sin
 prcvio aviso o natif cacic~n. Adeni~s, la Corte suede decidir a favor del demandante y
  requiere que usted cumpla can tadtts las ~ravisianes de est~ den~a~xda. Usted puede
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                        SERVICI(~ D[; R~i^rRrNCIA LEGAi,
                         Cc~legio do Abo~a~Eos de Philadelphia
                            11-01 Market Street, I1th door
                                    Phila, PA 19107
                                Phone: (215} 238-6300
                                  Fax:(215)23~-.1159
 Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 12 of 19




~rec~ Davis, Esquire                                   AT"I'ORI~TEY FC7R PLAIN"I'IFF
Identification Na. 93907
I)AV1S CONSUMER L~iW FIRM                              'THIS TS AN AR~TTRATION MA"I"i'~R.
500 OFFICC CTR DR-STS 400                              ASSFSSMF,,N'1' C_?I~ UAR~AUES II~ARtNG IS
I~T. WA:SHINCir1"ON, I'A 1~~3~                         1Z~Q(JES`CED.
(T)1-855-432-&475/0')1-855-~35-9294
Fciavis a)usacreditll~w~r.co~n
I-1RIS'T() DIMITROV                                    COl7RT Ql~ COMM.~N PI~F~,S
5333 Win~hoching Ter
Phila, Pt1.                                            PHILI-1DELPI-irA CUI.TNTY
19144

~'lairrtiff



MIDI.,~NI) F'UNI7ING, LLC
8875 Aero Ur.-Ste 200
San I)ie~,o, CA
y2123                                                 CIVIL ACTICIN

t7efendnnt


                                        C(?MPLAINT'

                1.      1:'laintiff, ~-IRIS"1'Q I)IMITROV, is an adult individual citizen and

legal resident of the State oCPennsylvania, living ai 5333 'Wij~ghoching'I"er St, Fhila, Pa

19144.

                2.      Defendant, IvITL7LAND I~LTNI~ING, LIaC, is is business corporation

qualified to and regularly cc~nductiY~g business iu, the Commoa3weaEth of Pennsylvania,

with its le~~l ressderice acid priucip~l place of business at 8875 .era l~f~.-Ste 200, San

Diego, C:E1. )2123. Defenc~aat can k~e served at that address.

                        Plaintiff givers that at atl times ~~iaterial hereto, Defexxdant acted by

and th.ro~igh its authc~rired a~e~~ts, servants, ~.fliccr~, acid/or employees, including

Def~.~~darlt, all ~f whim wc~•e aclin~; within the scope af'their employment.
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 13 of 19




                                  JUItISllICTION AND VENUE

                    4.      Jurisdiction of~ This court arises pursuant to 1S t1.S.C. § 1 fi~2k(cl),

which states that stici~ ~ctiatis may be brc~ugl~t ttud heard before "any appxc~priate United

Sttttes district cnurt without regttrd to the amount in controversy, or i~~ any other court of

competent jurisdiction".

                    5.     Defendant regula~•1~ conducts business in the State oi' Pennsylvania

and iii the County of Philadelphia, the►•efore, personal jurisdiction is established.

                    fi.     Venue is paper i~~ P1~iladel~t~ia Cauaity purs~tani Co Penns}~~lrrania

Rules of Civil I'rc~cec~ure 1006 and 2179.

                    7,     Declaratory relief is available ~~ursuant to 28 U.S.C. §§ 2201 and

2202.

                                              PARTIES

                    8.     Plaintiff is a natural person residing icx Phrla, PA.

                    9.     Plainti#f is a "consumer" as that term is defi~~ed by IS iJ.S.C. §

1692~t(3}, as the alleged de~>l at issue was acquired in the pursuit oi~consiimar related

~LIT(705t%S~   such as purchasing; household goads and supplies, clothiii~, t'nod, and for other

naa-commercial goods and services.

                    10.    DefendAnt, MIDLAND ~'UI~II~ING,I..LC, is a

company handling debt collection matters with headquarters I~cated at 8875 Aero ]7~~,-Ste

2QQ, Sar► IJiego, CA 92123.

                    11.    Defendant is a debt collector ~s th~~t term is cielined by 15 U.S.C.

§ ] 692a(G), and. so~i~ht to collect ~z cansEimet• debt from Plaintiff as d~:scribed abnve.

Defendant. identifies itself as a debt collector in virtual marketing raid in court tili~~gs.
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                 12.     De(enciant acted through tlicir agents, employees, officers,

metnhers, directors, heirs, successors, assigns, princi~uls, trustees, sureties, sub~~~gee~,

 representatives, and insurers.

                                  FACTUAL ALI.~GATI4NS

                 I3.     Can Qclober 17, ZQ14, Defendant Filed a lawsuit against

I?l~intiff in tl~e Philac~elJ~hia Mu~iicipal Court. The suit sought Glamages of $3,24$.EO foz~

are ~lle~;ec! default an a "Citibank" credit account ending in `"4571"which Defendant

alleges it purchased from "Citibank". See exhibits "A" and "R",

                 14.    Plaintiff alleges a~~ci ac~ers that Defendant misrepresented tl~e ]c~~l

status of the alleged debt by arguing that it was an assignee andlo~• successor iii interest to

"Citibink" without providing any c3pcum~ntary prt~of of assignme~it Qr charge-off by the

"Citibank", in violatit~n cif l 5 tJ.S.C. § 1692e.

                15.     Plaintiff further alleges arYd avers that 17efel~dant's lawsuit

constitutes a misre~resentati~n 4urrc~unctin~; tl~e nature and le~a3 status cif the aile~ed debt

because r}efendant's lawsuit to collect this alleged debt was tine-barred by the four-year

statute of limitations as imposed by 42 ~'a. C.S. § SS25(aZ(1 ~, in violation of 15 iJ.S.C'.

§ 1Ci92e.

                i6.     ~'lai~~tiff fi~t~ther alleges ai d avers that Defendant's la~~rsuit

cc~nstitute;s are action which cannot be le~;afly taken, bacause Defendant lacked sianding to

file fhe Philadelphia Municipal Court lawsuit, in violation of 15 U.S,C:. ~ 16~2e.

                17.     Plaintiff #urther alleges end avers Defendant made ax caused to be

mticic nuineroi2s, offensive phone calls to Plaintiff a~~d unretated third-parties ~ttetnptin~

to collect the alleged "debt", and. often times failed to property identify itself, n violation
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 15 of 19




of 15 I1.S,C'. §§ 1692c(a)(1) anti d.

                 18.      Plainfiff`f'ui~thec alleges a~ld avers that Defendant failed to nntzfy

the relevant credit bY~r~~us that tiie al(e~e~ debt was i~r dispute, i~~ violation of lS U.S.C.

1692e.

                                        COUNTI
                  THE F'A,l'it I)FI3T CCILLECTION PRACTICES ACT


                 19.     1n its actions to collect a disputed debt, Defendant violated the

FDCPA iz~ a~ie yr ~xxore of tt~e foll~tivi~~~ ways;

                         a,       Harassing, oppressing ar abusing Plaintiff in connection

with tEie collection of a clebf in violatio~~ of 1~ U.S.C. § 1692d.

                         h.       tlsin~ misrepresentations or deceptive means to collect a

dent in violation o~f 15 ~[J.S.C;. § 1692e(10}.

                         c.       C.Jsing unfair or unconscionable means tc~ collect a debt in

violation t~f 15 t1.S.C;. § 1692f.

                         d.       Attempting to collect an r~cnount riot authorized lay cantt~tict

or lt~~~ in violation a~' 15 U.S.C. § 1 fi92f

                         e.       t3y acting in an otherwise deceptive, unfair and.

uncr~nsaion~~ble t~~an~~er ~ir~d failirz~ to comply with the FDCPA.

                 WI-~ER~;FUR~, Plaintiff, ItRISTC) DIMITR()V, i•es~3ectfi~lly prays for a

judgment as follows:

                         a..     A11 actut~l co~z~pensatary damages suffered puxsuant tc~ 15

    U.S.C. § 16~2k(a}{1);

                         l3.     Statutory d~nia~es ~f $1,000. 0 far each viotatian of the
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 16 of 19




FDCPft pursuant to 15 i.7.S.C. § 16~.~2k{a)(?_){~);

                        c,      x111 reasonable attorneys' fees, witness fees, court costs and

    other liti~atiot~ eost5 incurred. by ~'laintiffpursuant to 15 U,S.C. § 1693k(a)(3); aid

Any other relief deennied a~~propriate ~y tlyis I-Tc~norable Court.



                        D,AVIS CC)NSUMER 'LAW ~]RM



                  Y'
                       Feed Davis-Pr1. lU# 93907
                       Attorney far Plaintiff, I~~t~S`I'U DTA4ITROV
                       500 Uffice Center Drive;-Suite 400
                       Ft. Washington, i'A 19034
                       Tel — 1-855-432-84751I~acsiz~~ile-1-855-~35-9294
                       Ert~ail: fdavis ii7t~sacrcc3,itl~zwyer,con~.
Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 17 of 19




                                       ''V'E~2IFICATIpN

                Fred Davis, states that kie is ttt~ attoniey for the Plaintiff herein; tl~al he is

acquainted with tl~e facts set fq~•lf~ in the foregoing; Corn.plaint; that sane are true and

co~~rect to the best ~1'his knc~wl~ci~e, information anti belief; and ihat this statement is

made suhject to tl~e I'en~►Ities of 1$ ~a. G.S.A. ~49U4, relating to unsw~rn falsificatio~is tv

authorities.




                        T~AVI5 CON~UMI:~ L~~W k1RM



                ray:
                       Fred Davis-1'A [D~! 9390'
                       Attorney fpr Plaintiff, I-iRIST~ U[MI'I'TZUV
                       500 (~ifice Center Drive-Suite 400
                       kt. Washington, ~',A 19034
                       7'Et -- 1-ASS-432-8475/P~csirnile-1-855-435-9294
                       Cn~ail: t~iavis r~usac~•editia ~er.com
                  Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 18 of 19



                                                  PHILADELPHIA MT.j1VICIPAL COU~tT
                                              ~TILST :IUDYCI.A.L DISTRICT OF PENNSYLVANIA
                                                           1339 ChesGiut Street, 10th Flonr, Philadetplria, PA t 9i 0'1
                                             lvflirsha H, Neificid, I'residenf Jude Patricia R. McDermott, Deputy Courl Administrator


                                                                      srAT~m~~v~~ aa~ c~.Amr
   CQde: Consurnee Purchase - i9?                                                 g(;/gip' # SG-14^10^-17-$85Ei
   Midland funding, LLC                                        ~~ ~~ TT                IIRISTO UZMITROV                                                            ~          ~ }
   6875 Aaro Drive Suite 206                                                           5333 hr7NGOHUCHZNG TER
   ."pan Diego, CA 92113                                                               PIIIT,ADF,LpHIA, PA 191A9




   Servico Addrese (iafarmation) if ether than above:

    To the Defendant: PlaJntTJJ"is seekirrg a rnrmey judgment uguirisl the vefendunt{s) l~a,ved on thz following cla!»r:
   Plaintiff is the owner of a cPrza.in credit Card account. (he.reitiafter "l:he Accaunl") by v?ztue of
   the assignment; oL the account. As a Xesialt of the assignment, plaintiff now holds a.11 rights,
   t; J.t~te and intc:re~t i~t and to Che ace:ounl:. U~~orY inLormai:ion grid belic:Y, the defendant. entered into
   ~ revolving credit card agzPement with CITIBANK, N.A. / AES'I' BUY, rE>.c~ived a cr.Edit card £or the
   account bearing the last. 9 numbers of XXXXXXXXXXXX-9$77. and used or authorized the use of said
   card to .far. the purpose of abt- aining gvods and/or services and/or. Dash advances. Based tapan
   records kapC. an behalf of plaintiff, Che last payment posted to the accounC on                                       The accounC
   showy ghat the defendant; owes a laaJ.ance of 53,428.60 file number 14-431567.




   Summons to the Defendant                                                                      Amount Claimed
   'You are hereby ordered to appear at a heAr~ng                                                Principal                         $                          :t ~ a a . 60
   scheduled as follows:                                                                         Interest                          $                               o.pp
   Citation al pemandado                                                                         Attorney Fees                     $                              o.oa
   Pnr 1x presenfa~, [lsted       esea d[rtjfdo u presentarsc a to                               OtherF~ees                        ~                              ~.~o
   siguie~te:                                                                                              Subtotal                $                          342s • f~
                                                                                                 Service                           ~                            95 • ~o
                                                                                                 State 1'ee                        $                            x o .o 0
   1339 Chestnut Stzeet 6L'h t'.loar                                                             Ai~tomationree                    $                              s.so
   Philadelphia, YA 19107                                                                        C`.oavenience Fee                 $                              s.oa
   Hearing Room: 5
                                                                                                 JC,`S St. Add. Surcharge          $                            ai. z s
                                                                                                 JCS St. Add. Fec                  $                              z .z s
                                                                                                 AT3 Fee                           $                              z , o0
    Ur;rember nth, 2019                                                                                                                                         zo.00
                                                                                                 AT3 ~urchargc                     $
                                                                                                 C",ourt Costs                     $                            ~ ~~ • ap
                                                                                                 '~Q'1'~1,j, Cj,t~~(~j~~)          $                          3563. GO
    01:00 PM
                                                                                                 rake Filcd: 2oii~izoia

t am an attorney for tUe plaintiff(s), the plaintiff's authori2ed represenwtive or have n power of attorney for the plai~tifi(s} in chin statement of claims action. Ihereby
verify that 1 am uuth~rized In make this verification; Ihat C have suiTicicnt knowledge, inturmatiun iwd belief to take U~is verification na have gained sufficient knowledge,
information and be{ief from cucnmuni~;atious with the pluintiif or Ilse persons listed below and that tLe facts set forth are true and cnrrect to khc beat of my laiowlodga,
infonnaCron a~~d belfeC 7 understand lhaf this verificatiat is made subjoct to the penalties set forth in 18 i'a. C,S. § 4904, which concerns the making of uns~vorn
falaificatious to ~uchnrities. ICIa,n an authorized reprosentative or have a power of attamey,IhavC attached a com~icted Philadelphia Municipal CouR authorized
rcprkce~itativ~ form or n cornpteted power of attorney 1'orrn.



                    DANTEL J. SANTUCCI
                                                                          Address & i IN'I'ERNATTONAL PLAZA 5TH E'ZOOR
                                                                          p~0°e     pyrLAi)E:I.PHTA, PA 19111
   Sl~nadsrePlalnli[C/Attprney
                                                                                    i30D-265-8825
   AttyXX)#: ~9?800
     N(ITiCE TO THE AE~NUAN1', YOU F1,iV1; DEF,N 9IlF3Y IN i:UUNT.                                 AVIStI AL 11CMA1VUAU/) LL HAN U$MAP7t).4b0 f,N CORTF_ Ykvi PQR FAVOR
     PLEA6E 5EE A1T.ACICEU NQTIf.FS                                                                L(!5 AVISO5 ASQCIADOS.

                           If you wish to re.~nive thla platter without appcartng in court' please conts~ct the uRtorney shown above tmmediatcly.
                                                       ~~~~~"
        Case 2:15-cv-02555-MAK Document 1 Filed 05/08/15 Page 19 of 19


                                               ....................................~.....~r✓~trr.~vrms•:;.. ~:;if,1
                                                                                                                      «EY.6»Yr?ii':t=J'f"..R~i~~'•:'~.::':;~ ,.JY~vlr,~   ~~icS'Yh'




                                                            W0I'I~CBhOri

            Molly ICampa, whose business address is ib Mcleland Road Suite
                                                                           ldl, St. Cloud, MN 56303,
            ccrti~es and says:

           I. Iam an ofTicer for MIDLAND ~'UNDINQ ~.LC and
                                                                          have access to pertinent account
            xecords far Midland Credit Mauageznent, Tnc, ("MCM"), servie
                                                                                er of this account on behalf
            a~'plaintif~: Iara a competenE person over eighteen years of
                                                                            age, and make the statements
           herein based upon personal knowledge afthost account record
                                                                               s maintained on plaintit3~
           behalf. Plaintiffis the cwr~nt owner of, and/or successor
                                                                         to, the ~li$ation sued upon,
           and was assigned all the rights, title and intezest to ~defendant~
                                                                               C~TTBANK, N.A. account
                                   4571 {MCM Number 8563097749) (hereinafter "the accaun
           access to and have reviewed the records ~cc`taining to the accou                        N').Ihave
                                                                               nt and am authorized to r~aake
           this veri~catiaa on plaintiff behalf;

           2.    used upon my areview of the business records: 1) dsfendant(s}
                                                                               opened the CIT~ANK,
           N.A. account on 2009-1130; 2) fhe last payment posted the
                                                                   to   account on 2013-03-U1; and 3)
           the account was charged off nn 2Q13-10-03.

           3.   Tha business records show that the dafendaut{s) owed a 6a(ance
                                                                               of 53428.60 as of
           2014-092S.

       Icertify under penalty of perjury that-the fore~aing statements
                                                                         are true and correct. 'Ibe
        undersigned understands that the statements therein arc made sabjec
                                                                                t to the penalties of 18
        Pa.C.S. §4904 relating to unsworu-falsification tp autht~rities.
           OCT 0 ~ 2014
       Date

                                              a              pa
       CA~37
       Internal I.e~al ILMS




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